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       Exhibit D
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        WITH THE
        COMMUNITIES
        WE SERVE
         RESPONSIBLE GROWTH REPORT
         /FALL 2022


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         The RGRC consists of Elsevier and RELX employees concerned about
         the climate impacts of the company. The purpose of this group is to
         highlight where the science reveals misalignment of our business with
         our policies and with a healthy future. Operating in the spirit of a culture
         of integrity that insists we incorporate ethics into all our actions, speak
         out for what is right, and hold ourselves accountable, we also advocate
         for the removal of any constraints placed upon employees that restrict
         their ability to follow Elsevier‘s Operating Principles, RELX’s ‘Do the
         Right Thing’ principles, and other ethical standards by which we’ve
         been challenged to abide. For more information and to get involved
         with our work, please contact Kip Lyall at klyall@cell.com.


         At left and next page: Health and science professionals risk arrest
         while protesting the expansion of fossil fuel development.
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                                        Introduction

                                       E
                                                              lsevier/RELX policies and statements contend that, taking into consideration
                                                              the impacts of “customer use of products and services,” our company is
                                                              responding to the climate crisis “in line with the scale deemed necessary by
                                                              science”1 in order to achieve net zero and Paris Agreement-based warming
                                                              goals.2 These are goals that the scientific community—including the Intergov-
                                                              ernmental Panel on Climate Change (IPCC) and International Energy Agency
                                                              (IEA)—has concluded require immediately halting new fossil fuel projects. Our
                                        company continues, however, to offer products and services (see RGR Fall 2021) that
                                        facilitate fossil fuel expansion, and has indicated we are not prepared to draw a line
                                        between the transition away from fossil fuels and the expansion of oil and gas
                                        extraction.3 Despite an April 2021 ethics complaint and further appeals made by
                                        employees, company leaders continue to assert that policies4 are being accurately
                                        followed in accordance with the findings of the scientific community.


                                        With one of Elsevier’s top priorities of 2022 being to build trust by partnering WITH THE
                                        COMMUNITIES WE SERVE to help them meet their objectives, the RGRC presents here
                                        the voices of health and science experts who are attempting to meet the urgency of this
                                        crisis. In providing an opportunity for our colleagues to hear from the scientific commu-
                                        nity about the conclusions and decisions being made at Elsevier and RELX, we will
                                        become better equipped to put ourselves in our customers’ shoes, to better serve them,
                                        and—in being accountable to make the right decisions and deliver the right
                                        outcomes—to achieve our collective goals.


                                        All those quoted are speaking on their own behalf.

                                        1 https://www.relx.com/~/media/Files/R/RELX-Group/documents/responsibility/policies/environmental-policy-2021.pdf
                                        2 https://www.relx.com/~/media/Files/R/RELX-Group/documents/responsibility/policies/climate-change-statement-new.pdf
                                        3 https://www.theguardian.com/environment/2022/feb/24/elsevier-publishing-climate-science-fossil-fuels
                                        4 These also include memberships in the UN’s Race to Zero campaign, the OECD Guidelines for Multinational Enterprises, the We Are Still In Declaration, the Responsible Media Forum’s Climate Pact, the Global Partnership for
                                           Sustainable Development Data, the UNGC (“No function is conﬂicting with company sustainability commitments and objectives” with action required when considering “where there are threats of serious or irreversible
                                          damage” and “acceptability to the public.”), and the UN Guiding Principles on Business and Human Rights (Discontinue “activities with potentially adverse climate change-related human rights impacts.”)




With the company facilitating           1. Pledges                                                                                                     4. Publications
the expansion of fossil fuel            Based on Elsevier/RELX’s business activity, does the                                                           For the company to be consistent with its pledges, would
extraction through fossil fuel          current climate research indicate that company pledges                                                         it need to alter the scope of its publications? Is there a
                                        and statements are being correctly followed? Is the                                                            difference between knowledge produced about fossil
industry-oriented data services,
                                        company acting consistently with what the science says is                                                      fuels, production, and the industry vs. knowledge whose
R&D, books, journals, and               required for there to be a realistic pathway to the net zero                                                   justiﬁcation is to help the industry develop new
U.S.-based lobbying, contribu-          and warming targets?                                                                                           production and stimulate old reserves?
tors were invited to answer
questions such as these, or             2. Health
                                                                                                                                                       5. Measurements
                                        Is the company being true to its purpose to improve health
simply choose to offer a                                                                                                                               The company has told investors it isn’t focusing on the
                                        outcomes and to beneﬁt society? To what degree will the
statement. Other testimonials                                                                                                                          impacts of customer use of products and services
                                        new fossil fuel development that the company is serving
                                                                                                                                                       because it’s “difficult to measure how the customers
are public statements related           promote any negative health outcomes for individuals or
                                                                                                                                                       behaved, how they used things and what they did.” Is it
to these issues.                        society?
                                                                                                                                                       difficult to know how the fossil fuel industry is
                                                                                                                                                       behaving and using these products and services, and is
                                        3. Expansion
                                                                                                                                                       it always necessary to have precise measurements for
                                        The company says they are not prepared to draw a line
                                                                                                                                                       the company to act in adherence with its pledges?
                                        between the transition away from fossil fuels and expansion
                                        of oil and gas extraction. What are your thoughts on this?
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             Testimonials
             The science is clear. Based on scenarios created by the IPCC
             or IEA, upon which the Race to Zero campaign is based, there
             can be no new oil and gas fields or coal projects for the world
             to reach even the goal of global net zero by mid-century,
             which is not ambitious enough. Yet Elsevier/RELX continues
             to support the goals of the fossil fuel industry, which are
             antithetical to a livable planet. For Elsevier to claim that it’s
             being guided by science, therefore, undermines the hard work
             of the actual scientists as we struggle to communicate the
             dire nature of the climate emergency and compel action. If
             Elsevier's pledge is real, then it will have to go well beyond
             simply rebranding Elsevier’s “R&D solutions for oil and gas”1
             as “R&D solutions for a sustainable world,”2 and sever all ties
             with the fossil fuel industry.


             Dr. Peter Kalmus
             NASA climate scientist
             Winner of the NASA Early Career Achievement Medal
             and three Jet Propulsion Laboratory Voyager Awards




             Elsevier and its parent company RELX are not, in fact, aligned
             with global efforts to achieve net zero emissions before 2050.
             Their aid of the fossil fuel industry in discovering and recover-
             ing oil and gas reserves is explicitly opposed to these goals.

             Dr. Ethan E. Butler
             Research Scientist, University of Minnesota



             Academic publishers who run journals that publish
             climate research while supporting the expansion of
             fossil fuel extraction. Do they read what they publish?


             Dr. Katherine Hayhoe
             Atmospheric Scientist, Texas Tech University
             Winner of the American Geophysical Union’s Climate Communication Prize, the Sierra Club’s
             Distinguished Service Award, and the National Center for Science Education’s Friend of the
             Planet awardand named one of Foreign Policy’s 100 Leading Global Thinkers.




             1 https://web.archive.org/web/20210923062544/https://www.elsevier.com/rd-solutions/oil-and-gas
3            2 https://www.elsevier.com/rd-solutions/sustainability-and-climate-change
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RESPONSIBLE            Elsevier is the publisher of some of the most important jour-
GROWTH                 nals in the environmental space. They cannot claim ignorance
REPORT                 of the facts of climate change and the urgent necessity to
                       move away from fossil fuels…Their business model seems to
/FALL 2022
                       be to profit from publishing climate and energy science, while
                       disregarding the most basic fact of climate action: the urgent
                       need to move away from fossil fuels.

                       On policies: Elsevier is not acting consistently with the
                       science which is published in its own journals.

                       On publications: There is a clear difference between publica-
                       tions which aim to study the industry, and publications with
                       the aim of supporting the industry. The kind of ethical guid-
                       ance which Elsevier should adopt is routine in medical
                       domains, for example.


                       On not focusing on impacts of products and services: This is
                       disingenuous because Elsevier is directly marketing to the
                       industry. It is thus selecting them as customers and hoping
                       they use the products Elsevier is promoting to them. The
                       medical principle of “first do no harm” comes to mind: “First
                       don’t create and promote products to a destructive industry.”


                       Dr. Julia Steinberger
                       Social ecologist and ecological economist
                       Université de Lausanne
                       Co-author of the Intergovernmental Panel on Climate Change (IPCC) 6th Assessment Report,
                       contributing to the report's discussion of climate change mitigation pathways




                       If the same publisher putting out the papers that show defini-
                       tively we can’t burn any more fossil fuels and stay within this
                       carbon budget is also helping the fossil fuel industry do just
                       that, what does that do to the whole premise of validity
                       around the climate research? That is what’s deeply concern-
                       ing about these conflicts.



                       Dr. Kimberly Nicholas
                       Senior Lecturer in Sustainability Science
                       Lund University
                       Guest at Elsevier’s 2021 SUSTAIN Festival, where she informed employees: “We have to stop the
                       carbon and climate pollution at its source… turning off the tap is really, really critical. The
                       International Energy Agency, IPCC, and every other alphabet soup of analysts is saying that, nope
                       there’s no more room for fossil fuel expansion.”


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RESPONSIBLE            I agree that publishing hydrocarbon exploration studies
GROWTH                 exacerbates the danger of a fossil fuel focused future and all
REPORT                 that comes with that. However I would not call out any scien-

/FALL 2022             tific work for being contractictory. Contradictions can lead to
                       debate and new discoveries. Expanding knowledge of geolo-
                       gy is not in itself dangerous. It is exciting and delicious if you
                       like that sort of thing (as I do). It is the application that forms
                       the problem, as well as the funding of the research. Good
                       applications may be that such geological studies can also find
                       places to bury CO2 underground. Such twists are already
                       going on.


                       Meanwhile we all know the planetary and human injustice and
                       damage caused by extraction. So what are possible conclu-
                       sions in terms of publishers' ethics? I would encourage pub-
                       lishers: to clearly mark out articles that could be used to
                       promote climate damage and pollution; to state next to them
                       which IPCC recommendations they contravene if used for
                       extraction—akin to cigarette warnings; to not publish any that
                       directly undermine widely accepted climate goals.


                       Putting limits and blocks on oil company access to science
                       that may aid future extraction would be a realistic first policy
                       to help towards meeting climate goals. Alternative revenue
                       streams for publishers, and limits on climatically dirty revenue
                       streams for all publishers, could help enormously.



                       Sophie Paul
                       Geoscientist and strategy adviser



                       Elsevier: serving healthcare by compounding public
                       health issues.


                       Aaron Berdofe
                       Clinical Informatics Director at Zus Health



                       [Elsevier] is hastening global warming by providing
                       consultancy services to fossil fuel companies to help
                       them develop new drilling sites.


                       Dr. Kris McNeill
                       Professor of Environmental Chemistry, ETH Zurich
                       Editor-in-Chief, Environmental Science: Processes and Impacts
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RESPONSIBLE            Elsevier/RELX’s business activities are in direct conflict with
GROWTH                 the most conservative estimates of what it would take to
REPORT                 avert the worst impacts of climate change. The stance of

/FALL 2022             curtailing paper use and employee travel while benefiting
                       from a business model that supports new fossil fuel develop-
                       ments amounts to greenwashing: it is entirely hypocritical and
                       disrespects the community of climate scientists, particularly
                       those who publish in, or donate their peer-review time for,
                       Elsevier publications.


                       Scientific knowledge is never neutral. Despite the claims of
                       nuclear physicists that they were not responsible for how the
                       military uses their research, we now know that not all informa-
                       tion should be widely shared, not when the risks of its applica-
                       tion are so dire. Carbon-emitting technologies have reached a
                       degree of destructiveness that makes them commensurate to
                       atomic technology, and one should apply the same principle:
                       Elsevier cannot feign ignorance of the uses to which the
                       research it publishes (and more consequentially, promotes) is
                       being put. It has the moral duty to track the contributions of
                       its leading business associates to fossil fuel emissions, else
                       abstain from doing business with them.


                       Dr. Julien Emile-Geay
                       Associate Professor, Department of Earth Sciences
                       University of Southern California



                       It’s hard to believe that a company that publishes
                       research about the dangers of the climate and ecological
                       crises is the very same company that actively works with
                       oil and gas companies to extract more fossil fuels, which
                       drags us towards disaster.

                       James Dyke
                       Assistant Director of the Global Systems Institute
                       University of Exeter



                       This all happens without the broader public knowing, and
                       it operates to entrench the industry. To effect a rapid
                       replacement of fossil fuels, I believe these entanglements
                       will need to be exposed and reformed.


                       Ben Franta
                       Researcher at Stanford University
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RESPONSIBLE            As presented here, it seems the Company is not 'ensuring the
GROWTH                 content, products, and data insights it generates are serving
REPORT                 an energy transition’ as claimed. Providing insights and knowl-

/FALL 2022             edge on new fossil fuel extraction undermines their claim to
                       be behaving consistently with a 1.5 degree pathway. The
                       science is pretty clear that to meet such a target we must
                       rapidly decarbonise and no new fossil fuel extraction can take
                       place (indeed many existing claimed resources would be
                       stranded). See https://www.nature.com/articles/nature14016
                       and more recently: https://www.nature.com/arti-
                       cles/s41586-021-03821-8.


                       It seems perverse to publish material that improves extraction
                       while admitting the need to rapidly cease extraction: it’s akin
                       to gun companies taking no liability for what is done with the
                       guns. Legally it might be fine, but morally it seems they
                       should at least put a ‘health warning’ on all such publications
                       along the lines of, “Elsevier recognises the need to rapidly
                       cease all new exploration and reduce production of fossil fuels
                       in order to keep global temperature changes well below 2
                       degrees, in line with international commitments.” I feel like this
                       is the least they could do. It reduces their liability and allows
                       them to show willingness, while also making the case very
                       clearly to any climate-denying fossil fuel bodies.



                       Dr. Duncan Watson-Parris
                       Atmospheric Physicist
                       University of Oxford



                       This is troubling.


                       Dr. Jonathan Foley
                       Executive Director of Project Drawdown
                       Former Executive Director of the California
                       Academy of Sciences
                       Winner of the Presidential Early Career Award for Scientists and Engineers, the J.S. McDonnell
                       Foundation’s 21st Century Science Award, an Aldo Leopold Leadership Fellowship, the Sustainabili-
                       ty Science Award from the Ecological Society of America, and the National Science Foundation’s
                       Faculty Early Career Development Award, and the Heinz Award for the Environment. Named by
                       Thomson Reuters a Highly Cited Researcher in ecology and environmental science, placing him
                       among the top 1 percent most cited global scientists.




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RESPONSIBLE            The recent IPCC Working Group II Assessment Report (2022)
GROWTH                 concludes: “Any further delay in concerted anticipatory global
REPORT                 action on adaptation and mitigation will miss a brief and

/FALL 2022             rapidly closing window of opportunity to secure a liveable and
                       sustainable future for all (very high confidence)”


                       Each one of us has a duty to effect urgent transformational
                       change for the benefit of people and the planet. Major corpo-
                       rations like Elsevier have an especially important responsibility
                       given their impact and their role in the curation and dissemi-
                       nation of the science that underpins our understanding of
                       intersecting global crises from climate change to biodiversity
                       loss and practices that drive inequity and injustice.

                       Dr. Bruce C. Glavovic
                       School of People, Environment and Planning
                       Massey University, New Zealand
                       Coordinating Lead Author of the sea-level rise chapter in the IPCC’s Special Report on the Ocean and
                       Cryosphere in a Changing Climate (2019) and a Cross-Chapter Paper Lead and Lead Author in the
                       IPCC’s Sixth Assessment.




                       Halting continued temperature increase requires net-zero
                       emissions of carbon dioxide as a first step and then negative
                       emissions. This means that the use of fossil fuels need to be
                       phased out. This also means that exploration of new fossil fuel
                       resources need to stop. Any company and business model
                       that builds on exploring more fossil fuels cannot claim to be
                       sustainable and in line with international commitments on
                       climate change. The reports that Elsevier works with the fossil
                       fuel industry to help increase oil and gas drilling is therefore
                       very disturbing. Many of us publish in Elsevier journals, help in
                       reviewing papers, and serve on editorial boards. We would
                       like to work with publishers that support a sustainable future
                       and commitments on climate change.

                       Dr. Göran Finnveden
                       Professor, KTH Royal Institute of Technology
                       Stockholm, Sweden
                       Editorial board member: The International Journal of Life Cycle Assessment, The International Journal
                       of Sustainability in Higher Education, Journal of Cleaner Production, and Sustainability
                       Member of the Board of the Stockholm Environment Institute (2020-present)
                       Member of the Swedish Government’s Scientiﬁc Council on Sustainable Development (2015-2018)
                       Member of the Scientiﬁc Advisory Council to the Minister of Environment (2012-2014)




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RESPONSIBLE            As a major publisher of climate science, Elsevier knows that we have ‘a
GROWTH                 brief and rapidly closing window of opportunity to secure a liveable
REPORT                 and sustainable future for all.’ Investing in fossil fuels, and helping to

/FALL 2022             close that window, should be unthinkable for Elsevier. Supporting fossil
                       fuel expansion is simply not compatible with responding to the climate
                       crisis on the scale deemed necessary by the science.

                       Prof. John Marsham
                       Professor of Atmospheric Science
                       University of Leeds



                       It appears Elsevier is failing to account for their responsibility in
                       measuring the impact of their business activity. Elsevier’s communi-
                       cations in the context of the climate emergency is a good example
                       of greenwashing for they have demonstrated complicity with the
                       destructive extractivist system over time (see Guardian’s article).


                       Dr. Elia Valentini
                       Senior Lecturer, University of Essex



                       Might be time for academics to boycott publishing in
                       any of the Elsevier stable of journals.


                       Prof. Lynley Wallis
                       Griffith University



                       We are witnessing the sixth mass-extinciton, with unprecedented bio-diversity
                       loss and rapid climate change. Elsevier play a prominent position in the distri-
                       bution of scientific knowledge to the world, yet continue to facilitate new
                       fossil fuel extraction. As eco-systems collapse, sea-levels rise, and wet-bulb
                       temperatures reach new highs, will future generations look back and agree
                       that Elsevier was acting "in line with the scale deemed necessary by science"?


                       James Fallon
                       PhD candidate, University of Reading



                       I knew there were some reservations about Elsevier, but
                       not about their oil and gas conflict of interest. I’ll definitely
                       be thinking about my next MS submissions.


                       Dr. Shelby C. McClelland
9                      Agroecosystem ecologist, Cornell University
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RESPONSIBLE            Elsevier provides a platform for extensive scientific reporting on
GROWTH                 climate and biodiversity that guides the IPCC and the decisions of all
REPORT                 governments around the world, which requires responsibility, ethics,

/FALL 2022             and consistency to be maintained. These are blurred by also provid-
                       ing a platform for research on methods to continue extracting and
                       refining oil, gas and coal, putting the prized legitimacy of Elsevier at
                       extreme risk. To provide early-stage researchers, like me, a future
                       where research is possible, instead of all efforts going instead to
                       simply survive, Elsevier cannot provide a platform for fossil fuel
                       extraction to continue.

                       Pete Knapp,
                       Research Scientist, Imperial College London



                       It's not surprising that Elsevier/RELX publishes books and journals
                       and data that support increased (or more effective) exploration
                       for and discovery of new oil and gas. Having a fully integrated top
                       to bottom climate policy would be the surprise. I agree with you
                       and your colleagues to keep up the pressure on the company to
                       align itself more fully with its climate commitment.


                       Dr. Richard Heede
                       Climate Accountability Institute
                       Co-author of “White Knights, or Horsemen of the Apocalypse? Prospects for Big Oil to align
                       emissions with a 1.5°C pathway,” published in Energy Research & Social Science, Elsevier (2021)




                       Elsevier journals have done so much to alert the world to the
                       severity of the planetary crisis, so to find out that the company
                       continues to facilitate fossil fuel expansion - even in 2022! - is
                       deeply troubling. But beyond any ethical dimension, I find it odd
                       because it undermines the whole scientific enterprise. Elsevier
                       journals trade on the authority of the science they publish but
                       ignoring the warnings of that science serves to diminish and
                       delegitimize it. It is as if Elsevier is publicly rubbishing the find-
                       ings of its own journals as unimportant.


                       Dr. Charlie Gardner
                       Associate Senior Lecturer
                       Durrell Institute of Conservation and Ecology




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RESPONSIBLE            The science should now be clear: avoiding catastrophic
GROWTH                 climate change requires ending the exploration and
REPORT                 extraction of new fossil fuel resources. How can Elsevier

/FALL 2022             claim to be responding to climate change, whilst at the
                       same time promoting work which actively undermines this
                       cause? By doing this, they are also undermining the thou-
                       sands of researchers who dedicate their lives to addressing
                       the climate crisis, and who rely on publishers such as Elsevi-
                       er to publish the science which can help us to do this. This is
                       a blatant violation of trust. More than that – it risks under-
                       mining the crucial and fragile public trust in science itself.


                       Dr. Emily Cox
                       Research Associate,
                       Universities of Oxford and Cardiff



                       No person or business is acting in a way “consistent with a
                       1.5-degree pathway” because such a pathway is not logistical-
                       ly possible—our government and business have already failed.
                       Our only options now involve reaching 1.5°C of warming and
                       then drawing carbon dioxide out of the atmosphere in addi-
                       tion to reaching net-zero emissions, eventually reducing the
                       warming level. To be consistent with any climate pledges,
                       Elsevier would need to divest financially from fossil fuel and
                       other extractive industries.


                       All companies need to define their values. If Elsevier values
                       climate mitigation, then it needs to stop supporting the fossil
                       fuel industry by providing logistical and technical support.
                       Some would argue that science is and should be policy neu-
                       tral, but it is naively ignorant of history to consider that the
                       funding and institutional support of science is not motivated
                       by our values as a society (e.g., development of atomic weap-
                       ons, space flight, artificial intelligence). I imagine that Elsevier
                       would not want to provide a publishing platform to eugeni-
                       cists, weapons manufacturers, or producers of illegal narcot-
                       ics. Why then provide that platform to the industry that is
                       currently jeopardizing the habitability of our planet?


                       I think RELX should promote open data use in general, but
                       can withhold support to the fossil fuel industry when it does
                       not affect other legitimate researchers.


                       Dr. Rose Z. Abramoff
                       Associate Scientist, Oak Ridge National Laboratory

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Question from an advocacy            Raki Ap, Ministry of the Interior, Netherlands
panel at Elsevier’s 2021
SUSTAIN Festival:                    We have to reﬂect on and expose these activities. We have to be honest. That is the only way we can change the system, by
                                     making people realize what these industries are doing.
Studies indicate MNE’s
[multi-national enterprises],
                                     Jonathan Leggett, Environmental Campaigner
being aware that necessary
                                     Greenwashing is a really big issue. I don't know if either of you went to the Green zone at the COP [UN Conference of the
“systemic change” is a threat
                                     Parties]. It's the zone with all these big companies. They were talking about how great they were at climate action, and
to their proﬁts and global
                                     they're really just not walking the talk. There was one stall that I went to that was for SSE which is a big energy company in
inﬂuence, are adopting the
                                     Scotland. They were talking about all the wind power that they were planning in the North Sea. And so I went up to them
language of advocacy while
                                     and I was like, ‘This sounds great. It's fantastic that you're doing these big investments in wind power. Does this mean
failing to “walk the talk.”
                                     you're going to be reducing your fossil fuel extraction in the North Sea as well?’ And they were like ‘Oh, God no.’ That was
What’s the best way to
                                     their reaction. They just don't even think about the fact that they can be talking about these great things but…the proﬁt
advocate for change at
                                     they receive from these really destructive forces still comes ﬁrst.
organizations whose business
activity is hindering the            One way or another, [we need to] ensure that these companies are changing their activities. I think activists need to be
systemic change for which            pressuring both governments and corporations directly to ensure that they do so.
they claim to support? How
can the proﬁt motive of MNE’s        Paul Behrens, Associate Professor of Energy and Environmental Change, Leiden University
realistically be overcome in
                                     I totally agree with the direct action. What you're trying to do with systemic change is raise the costs of that business. And
the absence of effective legal
                                     you're raising the cost of that business and removing the license to operate, and so societies are raising more exposure of
restrictions on business
                                     risk to these businesses.
activity?
                                     It's the smaller businesses that are easier to decarbonize, and the ones that are harder don't do the structural efforts. What
                                     you don't see from these businesses is actually the announcement of asking for change in the systems that they operate
                                     in…[Y]ou don't see the fundamental changes. This is ultimately a power issue. You can put it in all the accounting standards
                                     that you like, but if they're not transparent because there's a power issue, they’re not going to happen.

                                     If you're someone working in an organization and you want to see change, there’s direct action, but also the real pushing
                                     internally for transparent accounting standards for setting yourself goals, and not taking no as an answer, in terms of the
                                     power dynamics within companies. I know that's always really hard because power dynamics are there for a reason. That’s
                                     why they’ve been so powerful. It’s ultimately [about] overturning that…[and] pushing for change within companies like that
                                     and showing where the power lies.




                                     Paul Behrens, 2022 (email): I was very surprised and disappointed by the details in the Guardian article. It didn’t surprise
                                     me there were journals on fossil fuels but to see the level of integration with the industry was disturbing. To my knowledge,
                                     the broader energy journals and renewable energy journals don’t have renewable energy industry representatives on editorial
                                     boards but academics. I was even more disturbed by the business offerings for fossil fuel exploration and extraction. That is a
                                     clear decision to proﬁt from an industry that has a well documented history of willingly misleading the public and capturing
                                     regulators to extend their proﬁtability. It is an industry that has already contributed to the suffering of many millions of
                                     people across the planet. It is an industry that has repeatedly stood in the way of technical progress towards a cleaner, better
                                     world. This is the industry Elsevier decided to work with while talking about the importance of sustainability.

                                     Had I known these details before speaking at the festival I would have certainly zeroed in on this. Time and time again I ﬁnd
                                     that companies are not making the decisions that would have a real, consequential impact on environmental sustainability.
                                     Instead the focus is on inconsequential nice-to-haves, greenwashing their hands of any real impact or responsibility.

                                     This was all unknown to me when I did the sustainability festival event so...you feel tricked.




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Many of us publish
in Elsevier journals,
                             Afterword

                            S
help in reviewing
papers, and serve
on editorial boards.
                                                     cientists—including experts at our own journals—have concluded that
We would like to
                                                     our company’s involvement in helping the fossil fuel industry expand
work with publish-
                                                     production renders various pledges and statements inaccurate,
ers that support a
                                                     misrepresents climate science, and accelerates climate change. Oil
sustainable future
                                                     firm customers are broadly engaged in increasing production while
and commitments
                                                     only reducing emissions per barrel, plans antithetical to a livable
on climate change.
                                                     planet; helping them do business more efficiently while they supple-
                             ment this production with renewables still delivers an unlivable planet.1 With one
                             coal company describing our services as “vital,”2 Elsevier/RELX is in a position
                             to use its leverage by withholding products and services from companies whose
                             current business plans will deny us a safe and stable future. Despite this oppor-
                             tunity, our company has continued claiming that the industry is credibly “transi-
                             tioning,” while simultaneously altering and removing content from our websites3
                             that indicates complicity in what are being called crimes against humanity.4


                             Elsevier/RELX’s latest commitment is membership5 in the UN’s Race to Zero
                             campaign,6 requiring an actionable plan demonstrating that, after June 2023, we
                             will no longer be involved in facilitating new fossil fuel production.7 Plans for
                             Race to Zero are being reviewed by the UN Secretary General Expert Group on
                             Net Zero Pledges, a panel that’s concerned with science over corporate narra-
                             tives. As one member of the assessment group, Bill Hare, pointed out in 2021, “all
                             new fossil fuel investments and infrastructure—oil, coal and gas—need to stop.
                             Not next year, not in 2030, but today.”8 The Lancet—as a founding member of
                             the UK Health Alliance on Climate Change (UKHACC)—has also called for
                             ending the expansion of any new fossil fuel infrastructure and production.9 With
                             calls growing from scientists for scientist activism and civil disobedience,10 it
                             should be in management’s interest to pivot, to be true to our mission, and to
                             stand WITH THE COMMUNITIES WE SERVE.


                             —RGRC
                             September 2022
                             Global average atmospheric carbon dioxide: ~416 ppm




                             1 https://www.theguardian.com/environment/ng-interactive/2022/may/11/fossil-fuel-carbon-bombs-climate-breakdown-oil-gas
                                https://productiongap.org/wp-content/uploads/2021/11/PGR2021_web_rev.pdf
                             2 Adani/Bravus, involved in major coal expansion projects, with ties to the Myanmar military dictatorship committing genocide; https://www.queenslandminingexpo.com.au/en-gb/exhibitors.html
                             3 > Late 2021, “Solutions for Oil and Gas:” https://web.archive.org/web/20210923062544/https://www.elsevier.com/rd-solutions/oil-and-gas
                                2022: “Solutions for a Sustainable World”: https://www.elsevier.com/rd-solutions/oil-and-gas
                                > Late 2021, Oil and gas testimonials: https://web.archive.org/web/20211213061419/https:/www.elsevier.com/solutions/geofacets
                                2022, For sustainable growth in energy and mining: https://www.elsevier.com/solutions/geofacets
                                > 2020: https://web.archive.org/web/20200815142051/https:/www.elsevier.com/solutions/geofacets/geofacets-uncovering-diverse-insights; 2022: Removed
                             4 https://theintercept.com/2019/09/24/climate-justice-ecocide-humanity-crime/
                             5 https://unfccc.int/climate-action/race-to-zero/who-s-in-race-to-zero#eq-23
                             6 https://climatechampions.unfccc.int/wp-content/uploads/2022/06/EPRG-interpretation-guide-2.pdf
                             7 https://climatechampions.unfccc.int/wp-content/uploads/2022/06/Race-to-Zero-Criteria-3.0-4.pdf
                             8 https://www.theguardian.com/commentisfree/2021/may/20/the-world-is-moving-away-from-fossil-fuels-while-in-australia-its-all-systems-go-for-coal-and-gas
                             9 https://fossilfueltreaty.org/health-letter
                             10
                                 https://zenodo.org/record/7047049#.YxYjWuzMJdB; https://www.nature.com/articles/s41558-022-01461-y.epdf?
